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— YS Manguea

‘Steer x0 a Ok wk Ko WAZA

George M. Pribufick Je
Notary Pub bit, State of New York

County, No. O1P:
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